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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                        DECISION AND ORDER
                                                                    14-CR-214S
CHARISMA ROYSTER

                            Defendant.


       1.     On March 29, 2016, the Defendant entered into a written plea agreement

(Docket No. 242) and pled guilty to Count 31 of the Indictment (Docket No. 1 ) charging

a violation of Title 21 U.S.C. Section 841(a)(1) (possession with intent to distribute, and

distribution of, cocaine base).

       2.     On March 29, 2016, the Honorable Leslie G. Foschio, United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 244) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

       4.     This Court has carefully reviewed de novo Judge Foschio’s Report and

Recommendation, the plea agreement, and the applicable law. Upon due consideration,

this Court finds no legal or factual error in Judge Foschio’s Report and Recommendation,

and will accept Judge Foschio’s recommendation that Defendant’s plea of guilty be

accepted and that the Defendant be adjudicated guilty as charged.

       IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s March 29, 2016,

Report and Recommendation (Docket No. 244) in its entirety, including the authorities cited

and the reasons given therein.
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      FURTHER, that the plea of guilty of Defendant Charisma Royster is accepted, and

she is now adjudged guilty of Title 21, United States Code, Section 841(a)(1).

      SO ORDERED.


Dated: April 21, 2016
       Buffalo, New York




                                                      /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                     United States District Judge




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